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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


Consumer Financial Protection Bureau,
                  Plaintiff,
                                                   Case No. 1:22-cv-8308
             v.
MoneyLion Technologies Inc., ML Plus, LLC,         Judge John P. Cronan
MoneyLion of Alabama LLC, MoneyLion of
Arizona LLC, MoneyLion of California LLC,          PLAINTIFF’S MEMORANDUM
MoneyLion of Colorado LLC, MoneyLion of            OF LAW IN OPPOSITION TO
Connecticut LLC, MoneyLion of Delaware LLC,        DEFENDANTS’ MOTION TO
MoneyLion of Florida LLC, MoneyLion of             DISMISS THE COMPLAINT
Georgia LLC, MoneyLion of Idaho LLC,
MoneyLion of Illinois LLC, MoneyLion of Indiana
LLC, MoneyLion of Kansas LLC, MoneyLion of
Kentucky LLC, MoneyLion of Louisiana LLC,
MoneyLion of Maryland LLC, MoneyLion of
Michigan LLC, MoneyLion of Minnesota LLC,
MoneyLion of Mississippi LLC, MoneyLion of
Missouri LLC, MoneyLion of Nevada LLC,
MoneyLion of New Jersey LLC, MoneyLion of
New Mexico LLC, MoneyLion of New York LLC,
MoneyLion of North Carolina LLC, MoneyLion
of North Dakota LLC, MoneyLion of Ohio LLC,
MoneyLion of Oklahoma LLC, MoneyLion of
Oregon LLC, MoneyLion of South Carolina LLC,
MoneyLion of South Dakota LLC, MoneyLion of
Tennessee LLC, MoneyLion of Texas LLC,
MoneyLion of Utah LLC, MoneyLion of Virginia
LLC, MoneyLion of Washington LLC, MoneyLion
of Wisconsin LLC, and MoneyLion of Wyoming
LLC,

                  Defendants.
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                                        INTRODUCTION
        The Bureau’s action seeks to enforce protections for active-duty servicemembers and their

dependents (covered borrowers) under the Military Lending Act (MLA) and to enforce protections

for all U.S. consumers under the Consumer Financial Protection Act (CFPA). As the Complaint

alleges, Defendants violated the MLA by overcharging covered borrowers, requiring them to submit

to arbitration, and failing to provide disclosures. And as further alleged, Defendants violated the

CFPA by engaging in unfair, deceptive, and abusive acts and practices involving their customers.

        All asserted grounds for dismissing the Complaint are meritless. Defendants argue that the

 Bureau is suing them using funding that Congress granted in violation of the Appropriations

 Clause. But Congress did not violate the Appropriations Clause by passing a statute that makes

 funds available to the Bureau for expenditure—as every court to consider the issue, save one, has

 held. And even if there were a constitutional problem with the statutory provisions funding the

 Bureau, that wouldn’t require dismissal of the Complaint because, among other things, Defendants

 haven’t shown that any such problem would have affected the Bureau’s decision to bring this

 enforcement action.

        Nor is there any merit to Defendants’ claim that Congress unconstitutionally delegated

legislative power to the Bureau in authorizing the Bureau’s funding or in empowering the Bureau to

prosecute unfair, deceptive, and abusive financial practices. The nondelegation doctrine applies only

to delegations by Congress of legislative power; it has no application to exercises of executive

power—such as the Bureau’s instant enforcement action. And even if the nondelegation doctrine

did apply, a statute delegating authority to an agency does not violate the non-delegation doctrine

where Congress has supplied an intelligible principle to guide the delegee’s use of discretion. The

CFPA’s funding provisions and its specific prohibitions on unfair, deceptive, and abusive acts and

practices easily satisfy this standard. They provide at least as much guidance as the far broader
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delegations that the Supreme Court has repeatedly upheld.

        Defendants next contend that the MLA Rule is invalid to the extent that it requires certain

fees (including participation fees like the membership fees that Defendants charge) to be included in

the calculation of the Military Annual Percentage Rate (MAPR). But Defendants have failed to

show, as they must, that the MLA Rule is either manifestly contrary to the statute or arbitrary and

capricious. And Defendants’ arbitrary-and-capricious challenge also fails because it is time-barred,

having been brought more than six years after the Department of Defense (DoD) issued the 2015

MLA Rule.

        Defendants also advance a number of meritless arguments asserting that the Complaint fails

to state a claim. All plainly fail as well. Defendants baselessly assert that the Court should dismiss the

Complaint because it does not plausibly allege that Defendants’ loans were offered primarily for

personal, family, or household purposes. To the contrary, it is clear from the facts alleged in the

Complaint that Defendants’ loans—typically $500 payable over one year—were marketed and

offered primarily as personal consumer loans, not as commercial loans. Similarly, there can be no

question that the Complaint sufficiently alleges that Defendants exceeded the MLA’s 36% cap on

MAPR—by imposing compulsory membership fees which covered borrowers had to pay to access

Defendants’ loans and had to continue paying during the life of the loans.

        Defendants’ challenge to Count Two—that Defendants violated the MLA’s prohibition on

mandatory arbitration—also fails. Defendants base their argument on a document attached to a

defense-attorney declaration. There is no legal basis for the Court to consider the contents of this

document. And even if there were, the presence of a time-limited opt-out provision would not allow

Defendants to evade the MLA’s categorical prohibition against requiring covered borrowers to

submit to arbitration. Finally, Defendants’ contention that the Complaint doesn’t sufficiently allege a

failure to provide MLA disclosures utterly ignores the Complaint’s straightforward allegations.


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                                             STATEMENT OF FACTS

          As detailed in the Complaint, Defendants violated the MLA every time they extended

credit to a covered borrower. Defendants overcharged covered borrowers, imposing fees that,

together with stated interest-rate charges, exceeded the 36%-MAPR cap.1 Defendants included

prohibited arbitration clauses in contracts with covered borrowers.2 And Defendants failed to give

covered borrowers disclosures required by the MLA.3 Defendants also violated the CFPA when

they sought to collect loans and fees from covered borrowers, falsely representing that they owed

those amounts even though there was no such repayment obligation because the loans were illegal

and therefore void ab initio under the MLA.4

          Defendants’ unlawful practices also extended beyond covered borrowers. As the

Complaint describes, Defendants attracted consumers with promises of low-APR installment

loans and then trapped many consumers—particularly those behind on loan payments—in costly

membership programs that provided few benefits other than the loans themselves.5 Defendants

misled many consumers by telling them at the time of enrollment that they could cancel their

memberships for any reason when that was not true.6 And in many instances, Defendants went to

great lengths to extract unpaid membership fees from consumers, even those who had paid off

their loans.7 By engaging in these and other practices detailed in the Compliant, Defendants

committed unfair, deceptive, and abusive acts and practices in violation of the CFPA.8




1 Complaint, ECF 1 (“Compl.”) ¶¶ 59-64; see 32 C.F.R. § 232.4(b).
2 Compl. ¶¶ 57, 66-68; see 10 U.S.C. § 987(e)(3); 32 C.F.R. § 232.8(c).
3 Compl. ¶¶ 57, 70-72; see 10 U.S.C. § 987(c)(1)(A); 32 C.F.R. § 232.6(a).
4 Compl. ¶¶ 74-79; see 10 U.S.C. § 987(f)(3); 32 C.F.R. § 232.9(c).
5 Compl. ¶¶ 2, 3, 49-52.
6 Id. ¶¶ 36-38, 52, 81-86.
7 Id. ¶¶ 39-43.
8 Id. ¶¶ 81-101; see 12 U.S.C. §§ 5531, 5536, 5564.

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                                     ARGUMENTS AND AUTHORITIES

I.        Standard of review for a motion to dismiss.

          In reviewing the sufficiency of a complaint, the Court accepts all well-pleaded allegations as

true and construes those allegations in the light most favorable to the nonmoving party.9 Although

the complaint may not contain only “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements,”10 the Bureau is not required to meet a heightened

pleading standard. The complaint must plead “sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.”11

II.       Defendants’ constitutional arguments are meritless.

          A.     Congress did not violate the Appropriations Clause when it authorized the
                 Bureau to draw and spend money on its operations.

          Defendants claim that “Congress violated the Appropriations Clause in creating the CFPB”

because it chose to fund the Bureau through an authorization in the Bureau’s organic statute rather

than through annual spending bills.12 But there is no support for that argument in the text of the

Appropriations Clause, which states that “[n]o Money shall be drawn from the Treasury, but in

Consequence of Appropriations made by Law.”13 As the Supreme Court has held, the “command of

the Appropriations Clause” is “straightforward and explicit”: “ ‘It means simply that no money can

be paid out of the Treasury unless it has been appropriated by an Act of Congress.’ ”14 “[I]n other




9 See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
10 Id.
11 Id. at 663.
12 Defs.’ Memo. of Law in Supp. of Mot. to Dismiss, ECF 58 (“Mot.”) at 8-9. By statute, the Bureau’s funds come from

the earnings of the Federal Reserve System, of which the Bureau is a part. See 12 U.S.C. §§ 5491(a), 5497(a), (c). For
fiscal years 2013 and later, Congress capped the amount the Bureau can draw at $597.6 million, adjusted for a particular
measure of inflation. See id. §§ 5497(a)(2)(A)(iii), (a)(2)(B). (The $597.6 million cap represents 12 percent of the total
operating expenses of the Federal Reserve System as reported in 2009.) The Bureau may draw an amount, up to the cap,
as is “reasonably necessary to carry out the authorities of the Bureau under Federal consumer financial law,” taking into
consideration amounts previously made available. Id. § 5497(a)(1).
13 U.S. Const. Art. I, § 9, cl. 7.
14 OPM v. Richmond, 496 U.S. 414, 424 (1990) (quoting Cincinnati Soap Co. v. United States, 301 U.S. 308, 321 (1937)).

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words, the payment of money from the Treasury must be authorized by a statute.”15

          The Bureau’s funding is so authorized. By statute, Congress authorized the Bureau to draw

up to a capped amount from the Federal Reserve System’s earnings each year to spend on its

operations.16 It thus complies with the Appropriations Clause’s “straightforward and explicit

command” that federal spending “be authorized by a statute.”17 While the Bureau’s funding is not

set through annual spending bills, the Appropriations Clause does not require annual

appropriations.18 Indeed, since the Founding Era, Congress has chosen to fund certain agencies and

programs through sources other than annual spending bills.19 Today, there are many such agencies,

including the Office of the Comptroller of the Currency, Federal Reserve Board, and Federal

Deposit Insurance Corporation.20

          Consistent with that history, courts have recognized that “Congress can, consistent with the

Appropriations Clause, create governmental institutions reliant on fees, assessments, or investments

rather than the ordinary appropriations process.”21 Indeed, every court but one that has considered

the issue has upheld the Bureau’s funding.22

          Defendants’ contrary arguments—which largely repeat those of the Fifth Circuit’s outlier

decision in CFSA—fail to engage with the constitutional text, binding precedent, historical practice,

and other contrary authority just described. Defendants note that Congress has the “power of the



15 Id.; accord Butts v. Barnhart, 416 F.3d 101, 105 (2d Cir. 2005) (the Clause allows the “payment of money by the federal

government only where authorized by statute”).
16 See 12 U.S.C. § 5497(a), (c).
17 Richmond, 496 U.S. at 424.
18 Cf. U.S. Const. Art. I, § 8, cl. 12 (limiting appropriations for the Army—but not for any other purpose—to no more

than two years).
19 See, e.g., 1 Stat. 232 (1792) (establishing the Post Office and funding it through postage rates).
20 12 U.S.C. §§ 16, 243, 1815(d), 1820(e).
21 PHH Corp. v. CFPB, 881 F.3d 75, 95 (D.C. Cir. 2018) (en banc), abrogated on other grounds by Seila Law LLC v. CFPB, 140

S. Ct. 2183 (2020).
22 Compare, e.g., id. at 95-96 (upholding funding); CFPB v. TransUnion, No. 1:22-cv-1880, 2022 WL 17082529, at *5 (N.D.

Ill. Nov. 18, 2022) (same); CFPB v. Citizens Bank, N.A., 504 F. Supp. 3d 39, 57 (D.R.I. 2020) (same); CFPB v. Fair
Collections & Outsourcing, Inc., No. 8:19-cv-2817, 2020 WL 7043847, at *7-9 (D. Md. Nov. 30, 2020) (same; collecting
other cases), with Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 51 F.4th 616, 635-43 (5th Cir. 2022) (holding funding
invalid) (“CFSA”), pet. for cert. pending, No. 22-448 (U.S.).
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purse,” 23 but that is not in dispute. Congress validly exercised that power when it authorized the

Bureau to spend money to carry out the duties Congress assigned it and specified a source of funds

for that spending. Congress retains complete authority to alter the amount or source of the Bureau’s

funding as it sees fit. Defendants also go astray in describing the Bureau’s funding as

“unprecedented.”24 In fact, Congress has long appropriated money through means other than annual

spending bills. And the Federal Reserve Board—like the Bureau, part of the Federal Reserve

System—has for decades been funded from the very same source as the Bureau.25

           Defendants also claim that the Bureau’s funding lacks “any congressional oversight.”26 But

Congress is fully able to oversee the Bureau’s spending, including through audits, reports, and

appearances before Congress that are required by the Bureau’s statute.27 Defendants’ suggestion that

the Bureau’s authority is more significant than other, similarly funded agencies, such as the Federal

Reserve Board, is self-evidently wrong. As Justice Kagan noted, “[I]f influence on economic life is

the measure [of agency authority], consider the Federal Reserve [Board], whose every act

has global consequence. The CFPB, gauged by that comparison, is a piker.”28 More fundamentally,

the scope of an agency’s regulatory and enforcement responsibilities is irrelevant to assessing

whether the categorical language of the Appropriations Clause has been satisfied.29

           And even if Defendants could show an Appropriations Clause problem, the proper remedy

would not be dismissal of this case. If the concern is about particular features of the Bureau’s

funding mechanism, such as the provision circumscribing the authority of certain congressional



23 Mot. at 8.
24 Id. at 9.
25 See 38 Stat. 251, 261 (1913).
26 Mot. at 9.
27 See 12 U.S.C. §§ 5496(a)-(b), (c)(2), 5497(a)(5), (e)(4) (requiring audits, reports, and appearances before Congress

concerning Bureau spending).
28 See, e.g., Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2239 (2020) (Kagan, J., concurring in part).
29 Cf. Collins v. Yellen, 141 S. Ct. 1761, 1785 (2021) (explaining that “[c]ourts are not well-suited to weigh the relative

importance of the regulatory and enforcement authority of disparate agencies” and rejecting that inquiry in a different
separation-of-powers context).
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committees to review Bureau funds,30 then the appropriate remedy would be to simply sever those

provisions while leaving the rest of the funding mechanism in place.31 And while Defendants claim

to have somehow been harmed by the Bureau’s method of funding,32 they have not shown that the

Bureau would have acted differently had it been funded by (what Defendants would consider to be)

a “valid” appropriation.33

         Moreover, when Congress has established remedies for unauthorized Executive Branch

spending, it has not authorized the unwinding of otherwise-valid government actions, as Defendants

seek here.34 The only decision Defendants can muster in support of their preferred remedy is CFSA.

That decision, however, failed to conduct a severability analysis or to consider the application of

traditional remedial principles to the Appropriations Clause issue it described. This Court should not

follow the badly flawed remedial analysis in that decision.

         B.      Congress did not violate the nondelegation doctrine when it authorized the
                 Bureau to spend up to a specified amount on its operations.

         The Bureau may draw an amount each year—up to the statutory cap—that the Director

determines is “reasonably necessary to carry out the authorities of the Bureau under Federal

consumer financial law, taking into account such other sums made available to the Bureau from the

preceding year (or quarter of such year).”35 Defendants assert that this provision violates the

nondelegation doctrine. They are wrong.

         To begin, Defendants fail to explain why nondelegation principles would even apply to an




30 See Mot. at 10 (citing 12 U.S.C. § 5497(a)(2)(C)).
31 See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 508 (2010) (“Generally speaking, when confronting a

constitutional flaw in a statute, we try to limit the solution to the problem, severing any problematic portions while
leaving the remainder intact.” (quotation marks omitted)).
32 See Mot. at 10-11 (citing Collins, 141 S. Ct. 1761).
33 See Collins, 141 S. Ct. at 1789 (holding that a party can obtain relief because of an agency official’s unconstitutional

insulation from removal if the party can show that the removal restriction itself “inflicted harm”); id. at 1801-02 (Kagan,
J., concurring in part) (“agree[ing]” with the majority that a party must show that the unconstitutional provision actually
“affected the complained-of decision”).
34 See 31 U.S.C. §§ 1349(a), 1350.
35 12 U.S.C. § 5497(a).

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executive agency’s decision about how much of a congressionally authorized amount to spend. They

do not. Congress has long passed appropriations that grant to the Executive “wide discretion with

respect to both the amounts to be spent and how the money would be allocated among different

functions.”36 “From a very early date Congress . . . made permissive individual appropriations,

leaving the decision whether to spend the money to the President’s unfettered discretion. . . . The

constitutionality of such appropriations has never seriously been questioned.”37

          But even if the nondelegation doctrine did apply, Section 5497 would easily pass muster. It

directs the Bureau to draw an amount, up to the cap, that is “reasonably necessary” to carry out the

Bureau’s authorities and responsibilities (which are spelled out in detail in the rest of the statute),

taking account of any past amounts received. That instruction provides at least as much guidance as

the far broader delegations that the Supreme Court has repeatedly upheld. The Court has approved,

for example, instructions for agencies to set air quality standards “requisite to protect the public

health”;38 to take action “necessary to avoid an imminent hazard to the public safety”;39 and to fix

“fair and equitable” prices.40 These and similar decisions—the key holdings of which Defendants

simply ignore—foreclose Defendants’ argument here.

          C.        Congress also did not violate the nondelegation doctrine when it authorized the
                    Bureau to prosecute deceptive, unfair, and abusive practices.

          Defendants contend that the Bureau’s statute “provides no sufficiently intelligible principles

to guide the CFPB’s determination of what is an ‘unfair, deceptive, or abusive act or practice.’”41 But

the nondelegation doctrine does not apply to the Bureau’s exercise of executive authority in bringing

suit to enforce a statutory prohibition that Congress itself enacted. “[T]he non-delegation doctrine

applies only to delegations by Congress of legislative power; it has no application to exercises of


36 Clinton v. City of New York, 524 U.S. 417, 446 (1998).
37 Id. at 466-67 (Scalia, J., concurring in part and dissenting in part).
38 Whitman v. American Trucking Ass’ns, 531 U.S. 457, 472-76 (2001).
39 Touby v. United States, 500 U.S. 160, 165-67 (1991).
40 Yakus v. United States, 321 U.S. 414, 426-27 (1944).
41 Mot. at 13-14.

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executive power.”42

         Even on its own terms, Defendants’ argument fails because the statutory prohibitions on

deceptive, unfair, and abusive practices provide more-than-sufficient intelligible principles.43 The

statute defines with great specificity what constitutes an “unfair” or “abusive” act or practice.44

(Indeed, Defendants devote nearly a full page of their motion to laying out the relevant statutory

language.45) “This was more than sufficient to confer an ‘intelligible principle.’”46

         So too, the prohibition on “deceptive” practices is at least as cabined as other provisions the

Supreme Court has upheld,47 including because its meaning is informed by decades of precedent

involving the similar prohibition in the Federal Trade Commission Act.48 In Defendants’ misguided

view, it seems that every Bureau and FTC action ever brought to remedy unfair or deceptive

practices was, in fact, invalid. That is not the law.49

III.     The MLA Rule is valid.

         Defendants wrongly assert that Count One and part of Count Four must be dismissed

because the MLA Rule is invalid to the extent that it requires certain fees (including participation

fees like the membership fee that Defendants charge) to be included in the MAPR calculation.50

         It is well established that an agency’s rule implementing a statute is entitled to Chevron

deference where (as here) “Congress delegated authority to the agency generally to make rules


42 United States v. Bruce, 950 F.3d 173, 175 (3d Cir. 2020) (rejecting non-delegation challenge to government’s filing of

information seeking enhanced sentence); see also United States v. Sanchez, 517 F.3d 651, 670 (2d Cir. 2008) (“It is well
established that the decision as to what federal charges to bring against any given suspect is within the province of the
Executive Branch of the government.”).
43 See 12 U.S.C. §§ 5531, 5536(a).
44 Id. § 5531(c)-(d).
45 See Mot. at 13-14.
46 CFSA, 51 F.4th at 635
47 See, e.g., Yakus, 321 U.S. at 425-27 (approving instruction to set “fair and equitable” prices).
48 See, e.g., CFPB v. Gordon, 819 F.3d 1179, 1192-93 n.7 (9th Cir. 2016) (“adopt[ing]” the “established meaning” of the

term “‘deceptive act or practice’ … in the context of the [FTC] Act” to analyze the Bureau’s statute); see also 15 U.S.C.
§ 45(a).
49 See A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495, 532-34 (1935) (specifically contrasting the FTC’s

permissible authority to regulate “unfair methods of competition” with the “much broader” delegation that the Court
held unconstitutional).
50 See 32 C.F.R. § 232.4(c).

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carrying the force of law” and the rule “claiming deference was promulgated in the exercise of that

authority,” as is the case with notice-and-comment rulemaking.51 Chevron holds that if Congress has

made “an express delegation of authority to [an] agency to elucidate a specific provision of [a] statute

by regulation,” the regulations must be “given controlling weight unless they are arbitrary,

capricious, or manifestly contrary to the statute.”52 Congress made such an express delegation in the

MLA: The statute empowers DoD to “prescribe regulations” that “establish … [t]he method for

calculating the applicable annual rate of interest” (i.e., the MAPR) on covered loans.53 Accordingly,

DoD’s rule providing that participation fees are included in the MAPR calculation must therefore be

given “controlling weight” unless it is manifestly contrary to the statute or arbitrary and capricious.54

It is neither.

          A.        The MLA Rule is consistent with the Military Lending Act.

          Defendants contend that the MLA Rule’s inclusion of participation fees in the MAPR

calculation conflicts with the statute because (1) the MLA defines “annual percentage rate” to have

“the same meaning as in section 107 of the Truth [in] Lending Act [(TILA)] (15 U.S.C. 1606), as

implemented by regulations of [the administering agency],”55 and (2) TILA’s implementing

regulation does not include participation fees in its annual percentage rate (APR) calculation.56 This

argument misses the mark.

          For one, Section 107 of TILA57—the section that the MLA’s definition of “annual

percentage rate” cross-references—does not specify what charges are included in the calculation of

the APR. Rather, that section speaks to the computational method for calculating the APR based on



51 United States v. Mead Corp., 533 U.S. 218, 226-27, 230 (2001) (citing Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467

U.S. 837, 843-44 (1984)).
52 467 U.S. 837, 843-44 (1984).
53 10 U.S.C. § 987(h)(2)(B).
54 Chevron, 467 U.S. at 844.
55 10 U.S.C. § 987(i)(4).
56 See 12 C.F.R. § 1026.4(c)(4).
57 15 U.S.C. § 1606.

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the “finance charge” (i.e., the cost of the credit) and the amount financed (i.e., the amount of credit

extended).58 A separate section of TILA governs what fees and charges are included in the “finance

charge.”59 Hence, the language in the first sentence of the MLA’s definition of “annual percentage

rate,”60 stating that that term has the same meaning as in Section 107 of TILA, merely indicates that

the MAPR should be calculated using the same computational methodology as set forth in TILA

and its implementing regulations. It has no bearing on what charges are included or excluded.

             The following sentence in the MLA’s definition of “annual percentage rate” removes any

doubt on that issue. That sentence states that the term “annual percentage rate” includes “all fees

and charges, including charges and fees . . . for ancillary products sold in connection with the credit

transaction” and specifies that “such fees and charges shall be included in the calculation of the

annual percentage rate.”61 This sentence makes clear that, for purposes of calculating the MAPR, “all

fees and charges” should be included. And further underscoring the appropriateness of including

participation fees in the calculation of the “annual percentage rate of interest,” the MLA defines

“interest” to include “all cost elements associated with the extension of credit” as well as “any

ancillary product sold with any extension of credit.”62

             To overcome Section 987(i)(4)’s direction that the MAPR include all fees and charges,

Defendants argue in a footnote63 that this language should be read to refer only to fees and charges

“that are connected to the extension of credit.” But participation fees are connected to the extension

of credit because they are fees “imposed for participation in any plan or arrangement for consumer

credit.”64 Thus, including participation fees in the MAPR is entirely consistent with the statute.




58 See id.
59 See id. § 1605 (“Determination of finance charge”).
60 10 U.S.C. § 987(i)(4).
61 Id.
62 Id. § 987(i)(3).
63 Mot. at 17 n.7.
64 32 C.F.R. § 232.4(c)(iii)(C).

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         B.          Defendants’ arbitrary-and-capricious challenge to the MLA Rule fails.

         Defendants also argue that the MLA Rule is arbitrary and capricious, asserting that it does

not provide “adequate justification” for including participation fees in the MAPR calculation for

most types of credit but not for credit cards. That challenge is time-barred and fails on the merits in

any event.

                     1.      Defendants’ arbitrary-and-capricious challenge is time-barred.

         While “substantive” challenges to a rule (such as a claim that a rule “exceeds the scope of the

agency’s substantive authority”) “have no time bars, challenges to the procedural lineage of agency

regulations . . . will not be entertained outside the time period provided by statute,” even where (as

here) the challenge is raised “as a defense to an agency enforcement proceeding.”65 Defendants’

arbitrary-and-capricious challenge—essentially a claim that DoD failed to provide “adequate

justification” or a “reasonable explanation” for its decision to treat credit cards differently from

other types of credit—is such a “procedural” challenge.66 That challenge is governed by a six-year

statute of limitations,67 which begins to run “upon issuance of the regulation.”68 DoD issued the

MLA Rule in 2015,69 so the time for challenging it on arbitrary-and-capricious grounds expired six

years later in 2021, and Defendants cannot raise that challenge now.

                     2.      Defendants’ arbitrary-and-capricious challenge fails on the merits.

         The MLA Rule easily withstands a “narrow” review under the arbitrary-and-capricious




65 Schiller v. Tower Semiconductor Ltd., 449 F.3d 286, 293 (2d Cir. 2006) (quoting JEM Broad. Co. v. FCC, 22 F.3d 320, 325

(D.C. Cir. 1994)).
66 See Schiller, 449 F.3d at 297 (treating claims that an agency failed to “engage in reasoned decisionmaking” or failed to

“provide[] an adequate justification for its decision” as procedural); see also Encino Motorcars, LLC v. Navarro, 579 U.S. 211,
221 (2016) (describing rule that agency “give adequate reasons for its decisions” as a “procedural”).
67 28 U.S.C. § 2401 (“[E]very civil action commenced against the United States shall be barred unless the complaint is

filed within six years after the right of action first accrues.”). See also Perez-Guzman v. Lynch, 835 F.3d 1066, 1077 (9th Cir.
2016) (“Procedural challenges to agency rules under the Administrative Procedure Act are subject to the general six-year
limitations period in the U.S. Code.”).
68 Sai Kwan Wong v. Doar, 571 F.3d 247, 263 (2d Cir. 2009); accord Perez-Guzman, 835 F.3d at 1077.
69 80 Fed. Reg. 43,560 (2015).

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standard.70 Under that standard, the Court must uphold an agency’s action as long as the agency

“examine[d] the relevant data” and set out “a satisfactory explanation including a rational connection

between the facts found and the choice made.”71 A rule is arbitrary and capricious only “if the

agency has relied on factors which Congress has not intended it to consider, entirely failed to

consider an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before [it], or is so implausible that it could not be ascribed to a difference

in view or the product of agency expertise.”72 In conducting arbitrary-and-capricious review, “a

court is not to substitute its judgment for that of the agency.”73

         The MLA Rule’s inclusion of participation fees in the MAPR calculation for most credit

products easily withstands arbitrary-and-capricious review. The MLA Rule includes fees in the

MAPR calculation to prevent creditors from circumventing the MLA’s interest-rate cap. As DoD

explained, if fees were excluded from the MAPR calculation, “a creditor would have a strong

incentive to evade the interest-rate limit by shifting the costs of a credit product by offering an

interest rate below that limit and imposing (or increasing) . . . fees.”74 And, moreover, “from the

perspective of the covered borrower who is the focus of protection under [the MLA], the financial

institution’s own apportioning of revenue among the various ‘fees’ and ‘interest’ does not change the

key fact that it is all part of an aggregate bundle of costs.”75 Defendants do not dispute the

reasonableness of this explanation for the decision to include fees in the MAPR calculation.76

         Instead, Defendants complain that DoD did not provide “adequate justification” for its

decision to exclude such fees from the MAPR calculation for credit cards but not for other credit


70 Karpova v. Snow, 497 F.3d 262, 267 (2d Cir. 2007) (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983)).
71 State Farm, 463 U.S. at 43.
72 Id.
73 Id.
74 80 Fed. Reg. at 43,569.
75 Id.
76 Cf. Huntco Pawn Holdings, LLC v. U.S. Dep’t of Def., 240 F. Supp. 3d 206, 222 (D.D.C. 2016) (upholding DoD’s

reasoning for including other fixed fees in the MAPR).
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products. But that purported legal argument is really a policy disagreement that provides no support

for deeming the MLA Rule arbitrary and capricious.77

          DoD thoroughly explained its reasoning for exempting certain credit card fees from the

MAPR calculation.78 For one, DoD expressed a concern that including all credit card fees in the

MAPR would “likely would result in dramatic changes to the terms, conditions, and availability of

[credit card] products to Service members and their families.”79 DoD explained that credit cards

often have “pricing mechanisms that, in part, account for the value of products or services delivered

through the cardholder’s use of the card itself” and that charges for “specific products or services

which may be imposed upon the covered borrower’s own choices regarding the use of the card”

could “meaningfully be distinguished from the cost of borrowing itself.”80 It therefore chose to

exclude such charges from the MAPR calculation for credit cards given that including them could

result in “unusually adverse consequences” for credit card issuers and covered borrowers alike, such

as card issuers having to “significantly re-structure their current products, services, and pricing

mechanisms” for borrowers covered by the MLA—“without a corresponding benefit” to those

borrowers.81 DoD also reasoned that “credit card products warrant special consideration . . . because

comparable protections for consumers who use these products separately apply under the CARD

Act.”82

          Defendants claim that DoD’s reasoning for exempting certain credit card fees is faulty for

two reasons; both are incorrect. First, Defendants object that DoD’s reasoning “applies to other

types of consumer credit.”83 In particular, Defendants claim that, like credit cards, other credit

products can include fees “expressly tied to specific products or services” that are distinct from the


77 See State Farm, 463 U.S. at 43.
78 See 80 Fed. Reg. at 43,572-76.
79 Id. at 43,572.
80 Id.
81 Id.
82 Id.
83 Mot. at 19.

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“cost of borrowing itself.”84 But this misunderstands DoD’s reasoning. DoD did not exempt such

fees for credit cards solely because those fees could “meaningfully be distinguished”85 from charges

for the credit itself; rather, the fact that such fees could be distinguished was one of multiple factors

that, taken together, supported exempting those fees for credit cards. DoD exempted those fees for

credit cards because including them would have been disruptive: credit cards commonly have those

sorts of pricing structures and would have to dramatically revamp their products (or stop offering

them to servicemembers and their families altogether) if those sorts of charges were included in the

APR calculation.86 DoD concluded that this result was not warranted, particularly given that another

law, the CARD Act, provides protections to credit card borrowers. Defendants offer no basis to

second-guess this reasoning.

             Second, Defendants contend that the protections for credit card borrowers in the CARD

Act do not warrant treating credit cards differently under the MLA. They claim that the CARD Act’s

protections—which include a requirement that credit card issuers assess consumers’ ability to repay

before opening an account as well as limits on late fees and other fees—are not “comparable” to the

MLA’s protections because they are both “more stringent and more lenient.” 87 But DoD never

claimed that the protections offered by the CARD Act and the MLA Rule were coterminous.

Instead, DoD considered the existence of the CARD Act’s consumer protections for credit cards in

striking the right “balance[]” between “the interests of limiting credit practices that have an adverse

impact on covered borrowers” and not “unduly impeding the availability of credit that is benign or

beneficial to those borrowers.”88 In other words, because the CARD Act provided credit card

borrowers important protections, DoD deemed it unnecessary for credit card issuers to include




84 80 Fed. Reg. at 43,572.
85 Id.
86 See id.
87 Mot. at 20-21.
88 80 Fed. Reg. at 43,573.

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bona fide fees in the calculation of the APR that would be subject to the MLA’s 36% MAPR cap.

         Defendants offer no reason to disturb DoD’s conclusion that credit card fees should be

treated differently than fees for other credit products.89 Thus, even if Defendants’ arbitrary-and-

capricious challenge were timely, it would fail on the merits.

IV.      The Complaint states claims under the MLA and CFPA.

                 A. The Complaint sufficiently alleges that Defendants’ loans were primarily for
                    personal, family, or household purposes.

         When creditors offer loans primarily for personal, family, or household purposes, they are

subject to consumer protections under the MLA and CFPA.90 Accordingly, the Complaint alleges

that Defendants offered their loans to consumers primarily for these purposes and includes factual

support for this allegation.91 Defendants’ assertions regarding the absence of such supporting facts

in the Complaint are without merit.

         As the Complaint alleges, Defendants used their online platform to “attract[] consumers

with promises of low-APR installment loans,”92 initially with a 5.99% APR loan for $500 payable

over 12 months (the ML Plus Loan).93 Bundled with the loans, Defendants also promised purported

benefits geared toward consumers, including “monthly credit reporting” of their loan payments to

credit bureaus, credit-monitoring tools, and a “members-only Facebook Group” page.94 The terms

and marketing of this loan make clear that Defendants offered these loans primarily as personal-

consumer loans, not commercial loans.

         Additionally, the loan amounts themselves leave no doubt that Defendants offered these

loans primarily as personal-consumer loans. In an analogous context, courts have considered the



89 Cf. Huntco, 240 F. Supp. 3d at 223 (concluding that DoD had “sufficiently explain[ed]” why it decided to include

certain fees in the calculation of MAPR).
90 See 32 C.F.R. § 232.3(f)(1)(i); 12 U.S.C. § 5481(5)(A).
91 Compl. ¶¶ 15, 55.
92 Compl. ¶ 2.
93 Compl. ¶ 30.
94 Compl. ¶¶ 49-50.

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loan amount (among other factors) in determining whether a loan is a consumer-credit transaction

covered by TILA—or a business loan not covered by TILA.95 Smaller loans are presumed to be for

personal purposes; larger loans for a non-personal, business purpose.96 Applying this test, courts

have determined that loans far exceeding $100,000 were still relatively small and therefore likely for

personal purposes.97 Here, it strains credulity to suggest that Defendants offered their $500-ML Plus

Loan for anything other than personal purposes.

         The same is true for Defendants’ Credit-Builder Loan. Like its predecessor, the Credit-

Builder Loan was initially for $500 payable over 1 year.98 But Defendants disbursed only a portion of

the loan amount at origination and deposited the remainder into a “credit reserve account,” which

Defendants only released to borrowers after they had paid off the loan99—ostensibly to “build” the

borrower’s “credit.” Accordingly, Defendants initially disbursed less than $500 to borrowers. And

even after Defendants later increased the loan amount to up to $1,000, borrowers would still receive

less than the full amount, with the remainder going into the “credit reserve account.”100 This small

amount initially disbursed to borrowers together with Defendants’ marketing of the loan as building

a borrower’s credit make clear that Defendants also offered this Credit-Builder Loan primarily as a

personal-consumer loan.

         Indeed, Defendants’ own brief—which this Court may consider as a party admission101—


95 See Mauro v. Countrywide Home Loans, Inc., 727 F. Supp. 2d 145, 153 (E.D.N.Y. 2010) (citing Thorns v. Sundance

Properties, 726 F.2d 1417, 1419 (9th Cir.1984)).
96 Thorns, 726 F.2d at 1419.
97 Gilliam v. Levine, 562 F. Supp. 3d 614, 623 (C.D. Cal. 2021) (“Here, the loan was for $150,000, which is relatively

small.”); see also Bergman v. Fidelity Nat. Financial, Inc., No. 2:12-cv-05994-ODW(MANx), 2012 WL 6013040, at *4 (C.D.
Cal. Dec. 3, 2012) (“The Court therefore has no basis in the record to determine whether $626,250 is so
disproportionately higher than an average personal loan that it suggests a business purpose.”); cf. Acevedo v. Loan Co. of
San Diego, No. 20-CV-1263-BAS-MSB, 2020 WL 4596760, at *4 (S.D. Cal. Aug. 10, 2020) at *4 (finding $1.2 million loan
sufficiently large to suggest business purpose).
98 Compl. ¶ 32.
99 Compl. ¶ 33.
100 Compl. ¶¶ 32, 33.
101 Purgess v. Sharrock, 33 F.3d 134, 144 (2d Cir. 1994) (“A court can appropriately treat statements in briefs as binding

judicial admissions of fact.”); see also Metcalf v. TransPerfect Glob., Inc., No. 19-CV-10104 (AJN), 2020 WL 7028644, at *6
(S.D.N.Y. Nov. 30, 2020) (citing Purgess and ruling that claims survived a 12(b)(6) motion based in part on Defendant’s
admission).
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confirms that Defendants offered these loans primarily as personal loans. Defendants claim to

“improve [their] customers’ lives by giving them access to financial products that many people have

the luxury of taking for granted;” by “allow[ing] [their] customers to build their credit histories, while

saving and investing for their retirement and their families;” and by giving their customers access to

loans that they “often cannot access . . . from traditional banking institutions.”102 By their own

admission, Defendants offered the loans primarily for personal, household, or family purposes.

           The line of Fair Debt Collection Practices Act (FDCPA) cases cited by Defendants are

inapposite. Those cases focus on a different question: the purpose for which the individual plaintiff-

debtor incurred the debt—specifically whether the complaint alleged facts showing that the individual

plaintiff incurred the debt primarily for a personal purpose.103 Defendants adopt this standard,

claiming that the Complaint “does not allege facts demonstrating the purpose behind any individual

borrower obtaining a loan or how that borrower intended to use a loan.”104 But that is not the issue

here. Claims under the MLA and CFPA depend on the primary purpose for which the creditor offers

the loan.105 Accordingly, the Complaint need not allege facts relating to any individual borrower’s

purpose or intention in taking out a loan. The Complaint must only plausibly allege that Defendants

offered the loans primarily as personal-consumer loans, which it does.

           Nor do the FDCPA complaints scrutinized in Defendants’ cases bear any resemblance to the

Bureau’s Complaint. For example, in Scarola, the court found that not only did the complaint fail to

contain any factual allegations supporting the inference that the debt arose from a consumer

transaction, the complaint contained facts affirmatively suggesting the opposite: that the debt was




102 Mot. at 1.
103   15 U.S.C. § 1692a(5).
104 Mot. at 30.
105 See 32 C.F.R. § 232.3(f)(1)(i) (“offered or extended to a covered borrower primarily for personal, family, or

household purposes”); 12 U.S.C. § 5481(5)(A) (“offered or provided for use by consumers primarily for personal,
family, or household purposes”).
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instead for a business purpose.106 And in Maleh107 and the cases it cites, courts found that the

complaints merely regurgitated the statutory definitions and were otherwise devoid of any factual

detail or content from which the courts could ascertain or reasonably infer the asserted jurisdictional

bases for the claims.108 That is not the case here: there is more than sufficient factual detail in the

Complaint to plausibly state claims under the MLA and CFPA.

     B. The Complaint sufficiently alleges that Defendants violated the 36%-MAPR cap on
        loans to covered borrowers.

          Contrary to Defendants’ contentions regarding Count One’s defects and deficiencies, the

Complaint methodically details how Defendants’ loans exceeded the MLA’s 36%-MAPR cap.

According to the Complaint, before covered borrowers could access Defendants’ loans, Defendants

required them to enroll in membership programs and begin paying monthly membership fees. And

Defendants required covered borrowers to maintain their memberships and continue paying

monthly membership fees over the life of the loans.109 As detailed below, Defendants’ compulsory

membership fees therefore constituted fees “imposed for participation in any plan or arrangement

for consumer credit” under the MLA110 and consequently were a required component of the loans’

MAPR.111 When these fees are included in the MAPR calculation, explains the Complaint, all of

Defendants’ Membership-Program Loans exceeded the MLA’s 36%-MAPR cap.112 The Complaint

therefore states a plausible claim for relief in Count One.

                    1. The Complaint sufficiently alleges that Defendants’ membership fees are
                       participation fees under the MLA.

          Defendants claim that the Complaint fails to allege plausible facts showing that their

membership fees must be included in their loans’ MAPR. But the history and text of the applicable


106 Scarola Malone & Zubatov LLP v. McCarthy, Burgess & Wolff, 638 F. App’x 100, 102 (2d Cir. 2016).
107 Maleh v. United Collection Bureau, Inc., 287 F. Supp. 3d 265 (E.D.N.Y. 2018).
108 Id. at 271-72 (citing, e.g., Beauvoir v. Israel, 794 F.3d 244, 248 (2d Cir. 2015)).
109 Compl. ¶¶ 29-35, 55-56, 62.
110 32 C.F.R. § 232.4(c)(1)(iii)(C).
111 Compl. ¶ 60 (citing 32 C.F.R. § 232.4(c)(1)(iii)(C), (c)(1)(iv)).
112 Compl. ¶¶ 1, 62-63.

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MLA regulation make clear that Defendants’ membership fees, as described in the Complaint, are

precisely the type of fees that DoD intended to include in the MAPR calculation. When Congress

directed DoD to prescribe regulations to carry out the MLA, it specifically charged DoD to include

“‘[t]he method for calculating the applicable annual percentage rate of interest on such obligations’”

and “‘[a] maximum allowable amount of all fees, and the types of fees, associated with any such

extension of credit.’”113 The DoD stressed the importance of preventing creditors from

circumventing the MLA’s 36% cap with added fees:

         [T]he Department recognizes that, under Regulation Z, a wide range of charges that a
         creditor may impose in connection with a credit product are excluded as “finance
         charges,” particularly an application fee and a participation fee. If these exclusions from
         the definition of finance charge were to be maintained in the context of consumer credit
         covered under the MLA, a creditor would have a strong incentive to evade the interest-rate limit of
         10 U.S.C. 987(b) by shifting the costs of a credit product by lowering the interest rate and imposing (or
         increasing) one or more of these excluded fees. To guard against this obvious result, the Department
         specifically has included any application fee and any participation fee as charges that generally must be
         included in the MAPR.114

Accordingly, the MLA’s implementing regulation specifically includes in the MAPR calculation any

fee “imposed for participation in any plan or arrangement for consumer credit,”115 and expressly

provides that such a participation fee “shall be included in the calculation of the MAPR even if that

charge would be excluded from the finance charge under Regulation Z.”116

         Here, the facts alleged in the Complaint demonstrate that Defendants’ membership fees

qualify as “fee[s] imposed for participation in any plan or arrangement for consumer credit” and that

as a consequence, they must be included in the MAPR calculation. Covered borrowers were required

to enroll in membership programs and pay the membership fees to access the Membership-Program

Loans, and they were required to maintain their memberships and continue paying the fees over the


113 Huntco Pawn Holdings,, 240 F. Supp. 3d at 211-12 (quoting 10 U.S.C. § 987(h)).
114 Limitations on Terms of Consumer Credit Extended to Service Members and Dependents, 79

Fed. Reg. 58,602, 58,618 (Sept. 29, 2014) (to be codified at 32 C.F.R. Part 232) (footnote
omitted) (emphasis added); see also Limitations on Terms of Consumer Credit Extended to Service Members and Dependents, 80 Fed.
Reg. 43,560, 43,569, 43,582 (July 22, 2015) (to be codified at 32 C.F.R. Part 232) (containing similar explanation).
115 32 C.F.R. § 232.4(c)(1)(iii)(C).
116 32 C.F.R. § 232.4(c)(1)(iv).

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life of the 12-month installment loans.117 In contrast, consumers who did not pay membership fees

(enrolling instead in other free versions of Defendants’ membership program) were not eligible for

Defendant’s Membership-Program Loans.118

         Accordingly, Defendants’ membership fees are precisely the type of participation fees that

the regulation requires to be included in the MAPR—to prevent regulatory evasion. Indeed, DoD’s

regulatory commentary mentions “membership” fees as a type of “participation fee” to be included

in MAPR—stressing the importance of preventing covered credit products from “evad[ing] the 36

percent limit by including low interest rates with high fees associated with origination, membership,

administration, or other cost that may not be captured in the TILA definition of APR.”119

         Defendants attempt to skirt this clearly applicable regulation by urging an interpretation at

odds with the MLA’s plain text. The Act and its implementing regulation repeatedly use the term

“impose” in relation to the cost of credit to covered borrowers. For example, the MLA regulation

provides that the MAPR must include “[a]ny fee imposed for participation in any plan or arrangement

for consumer credit.”120 Defendants insist that “impose” must have a unique meaning under the

MLA: as requiring a measure of “force” or “compulsion.” Defendants argue that because the

Complaint does not allege that Defendants used such force or compulsion in connection with their

membership fees, the Complaint must be defective.

         Defendants’ attempt to distort the plain meaning of “impose” is unavailing. The term

“impose” is not defined, and there is nothing in the text or legislative history to suggest any

ambiguity in its meaning or application here. Accordingly, consistent with established canons,


117 Compl. ¶¶ 29-35, 55-56, 62.
118 Compl. ¶ 49.
119 Limitations on Terms of Consumer Credit Extended to Service Members and Dependents, 72

Fed. Reg. 50,580, 50,587 (Aug. 31, 2007) (to be codified at 32 C.F.R. Part 232) (emphasis added).
120 32 C.F.R. § 232.4(c)(1)(iii)(C) (emphasis added); see also 32 C.F.R. § 232.4(b) (“A creditor may not impose an MAPR

greater than 36 percent in connection with an extension of consumer credit that is closed-end credit . . . .”) (Emphasis
added); 10 U.S.C. § 987(b) (“A creditor . . . may not impose an annual percentage rate of interest greater than 36 percent
with respect to the consumer credit extended to a covered member or a dependent of a covered member.”) (Emphasis
added).
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interpretation of the MLA must proceed under the assumption that “the statutory language . . .

carries its plain meaning” with consideration of “the ordinary, common-sense meaning of the

words.”121 Applying those principles here, the term “impose” means nothing more than to charge—

as in to charge a fee.122 The Complaint sufficiently alleges that Defendants charged covered

borrowers monthly membership fees—as a condition to obtaining loans and during the life of the

loans.

          Also wrong is Defendants’ suggestion that their membership fees were not covered by the

regulation because the fees were somehow optional. To the contrary, as alleged in the Complaint,

these were compulsory fees that borrowers had to pay to access a loan and continue paying over the

life of the loan.123 If borrowers fell behind on paying fees while they had an active loan, Defendants

actively collected the fees (including past, unpaid fees) and engaged in a variety of tactics to extract

past and upcoming fee-payments: suspending membership benefits for unpaid fees; taking past,

unpaid fees out of borrowers’ investment accounts; refusing to release borrowers’ investment-

account funds unless borrowers paid past-due fees; and refusing to honor borrowers’ requests that

Defendants’ stop ACH withdrawals of membership fees.124

          Defendants’ other semantic contortions are similarly unavailing. Defendants wrongly assert

that because they bundled some purported benefits into their paid memberships, the membership

fees were not imposed only for participation in any plan or arrangement for consumer credit. But

Defendants cannot deny that their membership fees were a mandatory precondition of borrowers’

access to loans, that borrowers were charged and required to pay the fees over the life of the loans,



121See Chen v. Major League Baseball Properties, Inc., 798 F.3d 72, 76 (2d Cir. 2015).
122 This plain meaning is also consistent with TILA’s and Regulation Z’s usages of the term “impose.” Regulation Z uses

the term repeatedly as synonymous with “charge,” including in its definition of “finance charge” to include “any charge
payable directly or indirectly by the consumer and imposed directly or indirectly by the creditor as an incident to or a
condition of the extension of credit.” 12 C.F.R. § 226.4 (emphasis added); see also 15 U.S.C. § 1605(a) (similar usage in
TILA definition of finance charge).
123 Compl. ¶¶ 29-35, 55-56.
124 Compl. ¶¶ 35, 39-45.

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and that Defendants’ collected and sought those membership fees from borrowers. Defendants’

bundling of largely worthless benefits into their membership programs does not alter the fact that

these fees were imposed for participation in Defendants’ loans.

                  2. The Complaint sufficiently alleges that Defendants’ loans exceeded the
                     MAPR cap.
          Defendants attempt to avoid the Complaint’s plain allegations that their loans exceeded the

MAPR cap125 by suggesting—without any statutory or regulatory basis—that they should be allowed

to subtract some or all of their membership fees from the MAPR calculation to reflect the monetary

value of purported membership benefits and that the Complaint’s failure to appraise and offset the

value of each of these so-called benefits is fatal to the claim. The Court should reject Defendants’

attempt to invent a bona-fide-fee exemption for their installment-loan products; no such offset

exists in the MLA regulation. And even if there were a legal basis for subtracting some of the

membership fees from the MAPR calculation (and there is none), Defendants cannot contend as a

matter of law that for each of their loans to covered borrowers, the value of purported benefits was

sufficient to offset the $19.99 to $29.00 monthly fee and result in an MAPR within the 36% cap—

particularly given the different fees charged over time, the varying loan amounts and APRs offered,

and the indeterminate value of the sundry “benefits” purportedly provided during the relevant

period.

          Woven into Defendants’ argument is also the incorrect suggestion that the amount of fees

attributable to the MAPR should be the total fees that a particular borrower actually paid, rather than

the monthly fees charged under the contract. According to this specious argument, even if a borrower

was contractually obligated to pay $29 over the 12-month life of a 5.99% APR installment loan

(totaling $348 for the year), if the borrower didn’t pay all $348 in fees owed, the MAPR would only

include the amount of fees actually paid.


125 Compl. ¶¶ 59-64.

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         Such a result would be plainly inconsistent with the MLA’s terms and purpose.

Determination and disclosure of the MAPR occurs at the inception of the loan—not after the

borrower finishes paying off the loan. Congress required DoD to prescribe regulations establishing a

“maximum allowable amount of all fees” chargeable to covered borrowers “to be expressed and

disclosed to the borrower as a total amount and as a percentage of the principal amount of the

obligation, at the time at which the transaction is entered into.”126 The statute provides that a credit

agreement imposing an MAPR over 36% “is void from the inception of the contract,”127 not retroactively

after the loan is paid off and all fee-payments totaled. Defendants’ construction would be

inconsistent not only with the MLA’s terms, but also its dual purpose of ensuring that creditors

disclose at origination the actual charges applicable to covered borrowers and preventing creditors

from exceeding the 36%-MAPR limit at the loan’s inception.128

         Finally, Defendants wrongly assert that to state a claim that they exceeded the MLA’s 36%

cap, the Complaint must include specific calculations that input individual APRs, loan amounts, and

fees. But Defendants’ proposal ignores the fact that the loan terms varied: loan amounts were

initially $500 and later ranged between $500 and $1,000; APRs were initially 5.99% and later ranged

between 5.99% and 29.99%; and associated membership-fees were initially $29 and were later

reduced to $19.99.129 For the Complaint to state a claim that Defendants’ loans exceeded 36%

MAPR, it is not necessary to perform a separate MAPR calculation for each possible combination of

these varying terms. Rather, it is sufficient, as the Complaint has done, to state in detail the loan



126 10 U.S.C. § 987(h)(2)(C) (emphasis added).
127 32 C.F.R. § 232.9(c) (“Any credit agreement, promissory note, or other contract with a

covered borrower that fails to comply with 10 U.S.C. 987 as implemented by this part or which
contains one or more provisions prohibited under 10 U.S.C. 987 as implemented by this part is
void from the inception of the contract.”) (Emphasis added); see also 10 U.S.C. § 987(f)(3).
128 TILA, for its part, provides that the finance charge is determined as the sum of all charges payable by the borrower

and imposed by the creditor, see 15 U.S.C. § 1605(a); it is not the amount of charges ultimately paid by the borrower. The
logical extension of Defendants’ argument is that a borrower’s failure to pay all of the charges owed on a loan would
effectively reduce the loan’s APR, an absurd result.
129 Compl. ¶¶ 30-32.

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terms offered by Defendants and the fact that inclusion of Defendants’ membership fees in the

MAPR calculation—in combination with the loans’ stated APRs—results in all Membership

Program Loans imposing MAPRs exceeded the MLA’s 36% cap.130

     C. The Complaint adequately alleges that Defendants violated the MLA’s prohibition
        on mandatory arbitration.

           As the Complaint alleges, Defendants extended credit to covered borrowers by way of loan

contracts containing mandatory arbitration clauses without exceptions for covered borrowers—until

at least August 2019.131 Defendants thereby violated the MLA’s mandatory-arbitration prohibition

every time they made such a loan.132 Defendants’ attempt to sidestep this liability through the

introduction of an opt-out clause is unavailing.

                1. Defendants’ proffered arbitration-opt-out clause is not properly before the
                   Court.

           Defendants claim that they could not have violated the MLA’s mandatory-arbitration

prohibition because their loan contracts allow consumers to opt-out of arbitration (if they mail an

opt-out request within 30 days of entering the contract). But the Complaint does not reference any

such opt-out clause or attach any loan contract. Although the Bureau is eager to litigate this asserted

defense, it is not properly before the Court on Defendants’ motion to dismiss.

           The Second Circuit has made clear that “[i]n considering a motion to dismiss for failure to

state a claim under Fed. R. Civ. P. 12(b)(6), a district court must limit itself to facts stated in the

complaint or in documents attached to the complaint as exhibits or incorporated in the complaint by

reference.”133 A district court “may also consider matters of which judicial notice may be taken




130 Id. ¶ 63.
131 Id. ¶ 67.
132 See 10 U.S.C. § 987(e)(3) (“It shall be unlawful for any creditor to extend consumer credit to a covered member or a

dependent of such a member with respect to which . . . the creditor requires the borrower to submit to arbitration or
imposes onerous legal notice provisions in the case of a dispute.”); 32 C.F.R. § 232.8(c).
133 Kramer v. Time Warner Inc., 937 F.2d 767, 773 (2d Cir. 1991).

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under Fed. R. Evid. 201.”134 Here, because the Complaint makes no reference to an opt-out clause,

does not attach any documents, and does not incorporate any documents by reference, the only

remaining way that this Court could consider the existence of a contractual opt-out clause would be

if it were a matter of which the Court could take judicial notice.

          But for multiple reasons, the Court cannot take judicial notice of the existence of an opt-out

clause in Defendants’ loan contracts. “Courts may take judicial notice of facts that ‘can be accurately

and readily determined from sources whose accuracy cannot reasonably be questioned.’”135 Here,

Defendants simply attach to an attorney declaration136 what they say is “a sample loan agreement

during the relevant time period”137 and ask the Court to dismiss Count Two based on the truth of

matters asserted in the attachment. The Court should decline to consider the attached document as

well as Defendants’ representations regarding the document or its contents.

          Defendants have not established and cannot establish that the “sample” contract attached to

the Kim Declaration satisfies the reliability requirements for judicial notice: facts that can be

accurately and readily determined from sources whose accuracy cannot reasonably be questioned. In

motions to dismiss, courts have taken judicial notice of publicly available documents, such as

documents “required by law to be filed” with a governmental agency.138 On its face, the “sample”

contract is not a publicly filed document or other similar document from a source whose accuracy

cannot reasonably be questioned.

          Nor does it represent facts that can be accurately and readily determined. First, contrary to



134 Id.; see also Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008) (court’s consideration of “face of the

complaint and matters of which the court may take judicial notice” in ruling on motion to dismiss).
135 Lewis v. M&T Bank, No. 21-933, 2022 WL 775758, at *1 (2d Cir. Mar. 15, 2022) (quoting Fed. R. Evid. 201(b)(2)); see

also Kramer, 937 F.2d at 774.
136 ECF 57.
137 Mot. at 36 n.13.
138 See Kramer, 937 F.2d at 774 (judicial notice of public-disclosure documents required by law to be filed with SEC); see

also Lewis, 2022 WL 775758, at *2 (flood-program documents required by law to be filed with Connecticut Insurance
Department (CID), which bore CID stamp and were publicly accessible, considered “not for the truth of the matters
asserted [within the filings], but rather to establish the fact of such . . . filings.”).
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Defendants’ representations, the “sample” contract does not appear to be from the period relevant

to Count Two. The Bureau alleges that from about the fall of 2017 until at least August 2019,

Defendants “made loans to covered borrowers by way of loan contracts requiring the borrowers to

submit to arbitration in the case of a dispute, without exceptions for covered borrowers.”139 But the

proffered contract template does contain an exception for Covered Borrowers: “Covered Borrowers,

as defined by federal law, will not be required to comply with binding arbitration . . . .140 Accordingly,

the document Defendants proffer as a “sample” contract used during the period relevant to Count

Two was not in fact used during that period.141

         Second, the “sample” contract may only be a draft. Although it appears to be dated February

7, 2019, it contains provisions that did not appear in actual loan contracts until at least August 2019.

And if the “Rev. 1” notation in the document footer stands for “Revision Number 1,” this

document may have been the first of several contract revisions, not finalized and used until at least

August 2019. Lastly, there is no basis upon which the Court could determine from the document

whether any of the Defendants actually used the “sample” contract in transactions with covered

borrowers—and if so, which of the 37 Defendant Lending Subsidiaries used the “sample” contract,

in connection with which loans, during what dates, and with which borrowers.

         And even if the Court could take judicial notice of the “sample” contract with its opt-out

clause, the Court could not consider it for the purpose for which Defendants proffer it: to prove

that “MoneyLion does not require covered borrowers to submit to arbitration.”142 The Second Circuit



139 Compl. ¶ 67 (emphasis added). For the instant purposes, all allegations in the Complaint are accepted as true. See

Ashcroft, 556 U.S. at 678.
140 ECF 57-1 at 7.
141 A further indication that the “sample” contract was not used during the relevant period is that it contains a

“Statement of the Military Annual Percentage Rate” disclosure, see id., which Defendants did not include in their
contracts until at least August 2019. Compl. ¶¶ 70-71.
142 Mot. at 37. Although a contract is typically not hearsay “because its language binds parties to its terms without regard

to the truth of the statements in the contract,” United States v. Connolly, No. S1 16 CR. 370 (CM), 2018 WL 2411760, at *8
(S.D.N.Y. May 15, 2018), here, Defendants assertions go beyond the contract’s terms to their claim that the contract
proves that they’ve never required covered borrowers to submit to arbitration.
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plainly does not permit such a hearsay use of documents proffered by a defendant in a motion to

dismiss.143

              2. Defendants’ opt-out argument fails on the merits.

         Even if the Court could consider the impact of an opt-out clause on Count Two, the

Complaint states a plausible claim that Defendants unlawfully included in their loan contracts with

covered borrowers a provision requiring covered borrowers to submit to arbitration. As the

statutory text, structure, and legislative history make clear, the MLA’s arbitration prohibition is

categorical and unconditional.

         The MLA provides that “[i]t shall be unlawful for any creditor to extend consumer credit to

a covered member or a dependent of such a member with respect to which . . . the creditor requires

the borrower to submit to arbitration or imposes onerous legal notice provisions in the case of a

dispute.”144 The MLA further provides that “[n]otwithstanding section 2 of title 9 [the Federal

Arbitration Act (FAA) provision stating that arbitration agreements are generally enforceable] . . . no

agreement to arbitrate any dispute involving the extension of consumer credit shall be enforceable

against any [covered borrower].”145

         Defendants cannot escape the MLA’s mandatory-arbitration prohibition by purporting to

give covered borrowers a chance to opt out if they take certain additional steps within 30 days of the

loan’s consummation. The MLA’s prohibition focuses on the terms of the extension of credit at the

time credit is extended. The contracts’ default terms required covered borrowers to arbitrate and

thereby violated the MLA’s plain terms.




143 See Roth v. Jennings, 489 F.3d 499, 509 (2d Cir. 2007); Kramer, 937 F.2d at 773-774 (to consider truth of matters asserted

in document, Rule 12(b) would require the Court “to treat the [instant motion to dismiss] . . . as one for summary
judgment under Rule 56, giving the party opposing the motion notice and an opportunity to conduct necessary discovery
and to submit pertinent material”).
144 10 U.S.C. § 987(e)(3); 32 C.F.R. § 232.8(c).
145 10 U.S.C. § 987(f)(4) (citing FAA, 9 U.S.C. § 2); see also 32 C.F.R. § 232.9(d).

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          The Second Circuit reached a similar result in United States v. Moseley,146 where the loan

contract’s default terms violated TILA. Under the contract, the borrower would be charged in

excess of the TILA-disclosed amount—unless, after the loan’s consummation, the borrower took

additional, optional steps set out in the contract.147 The court focused on TILA’s requirement that

the creditor disclose “the ‘total of payments’ under the payment schedule set at the time of the loan

disbursement—not under an illusory payment schedule achievable only after the borrower undertakes

steps described in fine print.”148 Similarly, the MLA’s protections apply unconditionally to the

contract’s terms in the first instance: The focus must be on the contract’s default terms at the time

of loan consummation and whether they require a covered borrower to submit disputes to

arbitration. If so, the extension of credit under such a contract violates the MLA.

          Defendants’ reading of Section 987(e)(3)’s arbitration prohibition—as permitting arbitration

provisions with opt-out clauses—also makes little sense given the statute’s accompanying provision

that any agreement to arbitrate involving a covered borrower shall be unenforceable.149 Defendants’

construction would thereby render Section 987(e)(3) largely superfluous,150 ignore the MLA’s

structure, and produce an absurd result:151 A mandatory arbitration provision (with an opt-out

provision) applicable to covered borrowers would be lawful under Section 987(e)(3) even though

unenforceable under Section 987(f)(4).

          Instead, this Court should “interpret the statute as a symmetrical and coherent regulatory

scheme and fit, if possible, all parts into an harmonious whole.”152 The only way to harmonize these



146 980 F.3d 9 (2d Cir. 2020).
147 Id. at 16-17.
148 Id. at 26 (quoting 12 C.F.R. § 226.5(e)).
149 10 U.S.C. § 987(f)(4).
150 Cf. Rubin v. Islamic Republic of Iran, 138 S. Ct. 816, 824 (2018) (“[O]ne of the most basic interpretive cannons [is] that a

statute should be construed so that effect is given to all its provisions, so that no part will be inoperative or superfluous,
void or insignificant.”).
151 Cf. Cuthill v. Blinken, 990 F.3d 272, 281 (2d Cir. 2021) (courts may examine statutory structure to produce substantive

effect that is compatible with the rest of the law and avoids absurd results).
152 Food & Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000) (citations omitted).

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two provisions of the MLA is to interpret Section 987(e)(3) as prohibiting the extension of credit to

covered borrowers by way of a contract containing a mandatory arbitration provision applicable to

covered borrowers—regardless of the presence of an opt-out clause.

         The MLA’s legislative history and purpose support this conclusion. Preceding the enactment

of the MLA, DoD submitted a report to Congress regarding lending practices that DoD concluded

“undermine[ ] military readiness, harm[ ] the morale of troops and their families, and add[ ] to the

cost of fielding an all-volunteer fighting force.”153 Among the harmful lending practices identified in

the DoD Report was the inclusion of “mandatory arbitration clauses” in contracts with

servicemembers and their families.154 The Report explained that “[b]y eliminating a borrower’s right

to sue for abusive lending practices, these clauses work to the benefit of payday lenders over

consumers.”155 The Report emphasized that service members need to have access to “judicial

remedies through the courts for redress” and included among its recommendations to Congress that

“[l]oan contracts to Service members should not include mandatory arbitration clauses.”156 In

response to the DoD Report, “Congress enacted the MLA.”157

         This legislative history confirms that Congress intended a categorical prohibition—to protect

servicemembers and their dependents from a practice that Congress found to harm military

readiness and morale. Permitting creditors to include provisions purporting to compel covered

borrowers to arbitrate—with a time-limited, negative-option, opt-out clause—would inherently

conflict with this underlying purpose. And notwithstanding the unenforceability of such a provision,

it would have the effect of deterring covered borrowers from seeking the judicial redress that the

MLA intended to protect. A creditor’s insertion of an opt-out clause cannot so easily evade this



153 DEPARTMENT OF DEFENSE, Report On Predatory Lending Practices Directed at Members of the Armed Forces and Their

Dependents at 53 (Aug. 9, 2006), available at https://apps.dtic.mil/sti/citations/ADA521462 (“DoD Report”).
154
    See id. at 14, 46.
155
    See id. at 14.
156 See id. at 7, 46, 51.
157 Huntco, 240 F. Supp. 3d at 223.

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MLA protection and make lawful what Congress manifestly intended to prohibit unconditionally.

          In a roughly analogous context, the Fourth Circuit recently concluded that TILA, as

amended by the Dodd-Frank Act, prohibited a mortgage lender’s attempt to compel arbitration—

even though the arbitration provision contained an opt-out clause.158 TILA prohibits “appl[ying] or

interpret[ing]” any provision of certain contracts relating to residential mortgage loans “so as to bar

a consumer from bringing an action in an appropriate district court” alleging a violation of federal

law.159 The court stated that the statute’s plain language was “clear and unambiguous: a consumer

cannot be prevented from bringing a TILA action in federal district court by a [contractual

arbitration] provision.”160 The court (correctly) presumed that a borrower’s previous opportunity to

opt out of arbitration did not allow the lender to thereafter “bar [the] consumer from bringing an

action” in court.161

          None of the cases cited by Defendants in reference to arbitration-opt-out clauses are

instructive.162 All involved the National Labor Relations Act (NLRA), not the MLA.163 The plaintiffs

in those cases had argued that arbitration agreements were unenforceable because they violated the

NRLA’s guarantee of the right to engage in collective action.164 But the Supreme Court has since

made clear that the NLRA does not displace the FAA.165 In contrast, the MLA expressly does.166



158 Lyons v. PNC Bank, Nat’l Ass’n, 26 F.4th 180 (4th Cir. 2022).
159 See 15 U.S.C. § 1639c(e)(3).
160 Id. at 186 (citing 15 U.S.C. § 1639c(e)(3)).
161 Lyons, 26 F.4th at 187.
162 Cooper v. Ruane Cunniff & Goldfarb Inc., No. 16-900-WHP, 2017 WL 3524682, at *8 (S.D.N.Y. Aug. 15, 2017); Lamour v.

Uber Tech., Inc., No. 1:16- cv-21449, 2017 WL 878712, *6 (S.D. Fla. Mar. 1, 2017); Singh v. Uber Tech. Inc., 235 F. Supp.3d
656, 673 (D.N.J. 2017).
163 In their letter brief (ECF 49) (but not in the instant motion), Defendants cited Garrett v. Monterey Fin. Servs., LLC, No.

CV JKB-18-325, 2018 WL 3579856, at *4 (D. Md. July 25, 2018). After noting that the FAA “reflects a strong federal
policy favoring arbitration, and courts are thus required to rigorously enforce agreements to arbitrate,” the court briefly
considered whether the contract’s mandatory arbitration provision violated the MLA (even though the court found that
the subject loans weren’t subject to the MLA). In one sentence of dicta, the court stated, without analyzing the MLA, that
the contract did not “require” arbitration because it contained an opt-out clause. The court’s gratuitous conclusion is
plainly wrong, utterly ignores the MLA’s terms and purpose, and is likely inconsistent with the Fourth Circuit’s Lyons
decision.
164 See 29 U.S.C. § 157.
165 Epic Sys. Corp. v. Lewis, 138 S.Ct. 1612, 1624-1632 (2018).
166 10 U.S.C. § 987(f)(4).

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Accordingly, the courts’ findings in such cases—that an employee entered into arbitration

voluntarily or that an employee’s opportunity to opt out addressed any procedural unconscionability

concerns—have no relevance here.

              3. The Complaint need not allege that Defendants compelled any individual
                 covered borrower to arbitrate.

         Defendants also argue that Count Two fails to state a claim because the Complaint does not

allege that Defendants actually forced any individual covered borrower to arbitrate. Defendants’

argument is at odds with the MLA’s plain language. As discussed above, the MLA’s arbitration

prohibition is directed to the terms of the extension of credit at the time credit is extended.167 The

prohibited act—which Defendants committed each time they extended credit to covered borrowers

until at least August 2019—was the extension of credit under a contract with such a mandatory-

arbitration provision. Defendants cannot evade Section 987(e)(3) insisting that, actually, they would

not have sought to invoke the mandatory arbitration provision and compelled arbitration against

covered borrowers in the event of a dispute. And the Bureau need not identify individual covered

borrowers actually forced to arbitrate disputes to state a claim under Count Two.168

         Limiting application of the statute’s arbitration prohibition to instances where a creditor

actually compelled arbitration would also defeat the MLA’s purpose. As explained above, if creditors

could lawfully include contractual terms requiring covered borrowers to arbitrate all disputes (but

avoid liability through an undisclosed policy of not enforcing the mandatory arbitration provision

against identified covered borrowers), covered borrowers would be deterred from seeking recourse

through the courts.

         A court rejected a similar argument in the context of an EFTA claim. Although the


167 10 U.S.C. § 987(e)(3).
168 To be clear, Defendants do enforce their arbitration provisions against consumers attempting to obtain redress in a

judicial forum. See, e.g., DiCarlo v. MoneyLion, Inc., 988 F.3d 1148 (9th Cir. 2021) (MoneyLion’s motion to compel
arbitration); Barnes v. Equifax Info. Servs., LLC, Trans Union LLC, and MoneyLion, Inc., No. 1:20-CV-3013-CAP-CMS, 2021
WL 2471052 (N.D. Ga. Mar. 17, 2021) (same); Corpening v. MoneyLion Inc., No. 319CV00282FDWDSC, 2019 WL
8561889 (W.D.N.C. Sept. 12, 2019) (same).
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company-defendant never sought to enforce a prohibited term, either as to the individual plaintiff or

customers generally, the court held that the company’s non-enforcement did not alter the customer

agreement’s terms, “the language of which violates . . . EFTA.”169 The court noted that the contract

explicitly granted the company a right prohibited by EFTA: to assess penalties if a consumer

stopped electronic payments without notifying the company. The court stated that this was “the very

thing proscribed under the EFTA, which does not regulate practice, but content—and nothing

precludes [the company] from changing course and asserting those rights in the future.”170 So too

here. Whether Defendants actually enforced the arbitration provision against any covered borrowers

is immaterial.

     D. The Complaint properly alleges that Defendants’ contracts lacked MLA disclosures.

          As alleged in the Complaint, Defendants failed to include MLA-required disclosures in their

loan contracts until at least August 2019 and thereby violated the MLA every time they extended

credit to a covered borrower under such contracts. The MLA requires creditors that extend

consumer credit to covered borrowers to make certain loan disclosures before or at the time the

borrower becomes obligated on the transaction or establishes an account for the consumer credit.171

As the Complaint alleges, “[t]he mandatory loan disclosure must include a statement of the MAPR

applicable to the extension of consumer credit.”172 Until at least August 2019, Defendants “made

loans to covered borrowers without making all loan disclosures required by the MLA.”173

          Defendants insist that the Complaint is deficient because it does not specify which MLA

disclosures Defendants allegedly failed to make. But the Complaint plainly references the required

disclosures—including, specifically, the required statement of MAPR—and alleges that Defendants


169 Simone v. M & M Fitness LLC, No. CV-16-01229-PHX-JJT, 2017 WL 1318012, at *4 (D. Ariz. Apr. 10, 2017).
170 Id.
171 10 U.S.C. § 987(c); 32 C.F.R. § 232.6(a).
172 Compl. ¶ 70 (citing 10 U.S.C. § 987(c)(1)(A); 32 C.F.R. § 232.6(a)(1)).
173 Compl. ¶¶ 71-72. Elsewhere the Complaint states that “until at least August 2019, all contracts for loans offered by

MLT and the MoneyLion Lending Subsidiaries . . . lacked disclosures required under the MLA. See 10 U.S.C. § 987(c); 32
C.F.R. § 232.6.” Id. ¶ 57.
                                                          33
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made loans to covered borrowers without making all MLA-required loan disclosures. That is more

than sufficient to state a plausible claim for relief.

     E. The Complaint states a claim that Defendants violated the CFPA by engaging in
        deceptive acts and practices against covered borrowers.

          Count Four alleges that because Defendants’ loan contracts with covered borrowers failed to

comply with the MLA, all of those contracts were void ab initio,174 and as a consequence, covered

borrowers never owed any principal or interest under those contracts and had no obligation to repay

any of the loans or pay any of the associated membership fees.175 Count Four alleges that

Defendants engaged in deceptive acts and practices under the CFPA176 when they serviced and

collected on these void loans (and associated membership fees) because Defendants misrepresented

their legal entitlement to demand and receive all principal, interest, and fees and misrepresented

covered borrowers’ legal obligation to pay the full amounts.177 Defendants argue that Count Four

fails to state a claim because it is predicated on nonexistent MLA violations. This argument fails

because, as demonstrated above, the Complaint plainly states not one, but three separate MLA

violations: exceeding the MAPR cap (Count One); requiring covered borrowers to submit to

arbitration (Count Two); and failing to make required loan disclosures (Count Three). Any one of

these violations is a sufficient predicate for Count Four.

                                                      CONCLUSION

          For these reasons, the Court should deny Defendants’ motion to dismiss.


          Dated February 14, 2023                Respectfully submitted,
                                                 Eric Halperin
                                                 Enforcement Director
                                                 Alusheyi J. Wheeler
                                                 Deputy Enforcement Director
                                                 Kara K. Miller

174 32 C.F.R. § 232.9(c); see also 10 U.S.C. § 987(f)(3).
175 Compl. ¶¶ 74-76.
176 12 U.S.C. § 5536(a)(1)(B).
177 Compl. ¶¶ 77-79.

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 14, 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system and that on the same date a true

and accurate copy of the foregoing document was served via the Court’s CM/ECF system upon all

counsel of record.


                                           /s/ Maxwell S. Peltz
                                           Maxwell S. Peltz
                                           Attorney for Plaintiff
                                           Consumer Financial Protection Bureau




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